






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00343-CR






Vernon Lee Hunt, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TOM GREEN COUNTY, 119TH JUDICIAL DISTRICT


NO. B-01-0422-S, HONORABLE CURT F. STEIB, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Vernon Lee Hunt was convicted of felony driving while intoxicated and sentenced
to fifteen years in prison.  This conviction is final.  In April 2004, Hunt filed his second pro se
motion for judgment nunc pro tunc asserting that sentence was prematurely pronounced because the
time for filing motion for new trial had not expired.  He appeals from an order denying the motion.

An appeal does not lie from an order denying a request for judgment nunc pro tunc. 
Everett v. State, 82 S.W.3d 735 (Tex. App.--Waco 2002, pet. ref'd).  The appeal is dismissed.


				__________________________________________

				W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices Patterson and Puryear

Dismissed for Want of Jurisdiction

Filed:   August 26, 2004

Do Not Publish


